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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND

           CHAMBERS OF                                                                 101 WEST LOMBARD STREET
        J. MARK COULSON                                                              BALTIMORE, MARYLAND 21201
UNITED STATES MAGISTRATE JUDGE                                                     Phone: (410) 962-4953 Fax: (410) 962-4953
                                                                                 E-mail: mdd_jmcchambers@mdd.uscourts.gov



                    MEMORANDUM TO COUNSEL CONCERNING DISCOVERY
             Many members of our bar have expressed concern about the obstacles our Local Rules and
      practices present to timely, efficient, and inexpensive resolution of discovery disputes. To address
      these concerns, and to promote the just, speedy, and inexpensive resolution of this case, I have
      implemented the following policy as a substitute for Local Rule 104.8. Accordingly, please do
      not file any discovery motions until this process has been followed and I advise you that formal
      briefing is necessary.

             At the outset, Counsel are reminded of their obligation to cooperate in conducting
      discovery, as well as to limit the cost of discovery so that it is proportional to what is at issue in
      the case. In the event of a disagreement involving discovery, prior to requesting Court
      intervention, Counsel are to confer with each other and attempt to resolve or narrow the dispute.
      If issues remain, Counsel may:

          1. File a joint brief letter (not to exceed one page) advising me that you would like me to
             resolve a discovery dispute and confirming that you have attempted to resolve it on your
             own and that you have held a Local Rule 104.7 conference. Note: this requirement
             contemplates a discussion between counsel, not simply an email exchange.

          2. Within twenty-hour (24) hours of sending the aforementioned letter, counsel involved in
             the discovery dispute may file and serve on all parties, succinct letters (not to exceed three
             pages, single spaced) summarizing their respective positions. These should also be
             emailed to my chambers in addition to being filed on CM-ECF. No reply is to be filed
             unless requested by the Court.

          3. Upon review of these letters, the Court will likely schedule an expedited telephone
             conference to discuss the dispute and determine whether the issues may be resolved or
             otherwise addressed without the need for formal briefing. If so, my chambers will contact
             you with a timeframe for when I am available for a conference call. It is the responsibility
             of Plaintiff’s Counsel to arrange the conference call at the prescribed time and provide
             the Court with such information.

          4. Unless otherwise indicated, I will not make a tape recording of the hearing. If any of you
             desire a court reporter to record the hearing, it will be your responsibility to have a court
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       reporter present in your office. Of course, you must advise me and opposing counsel at
       the commencement of the hearing that a record is being made.


       I will do my best to resolve as many disputes as I can in this informal manner. If, however,
I determine that the issues require compliance with formal motions practice, I will so advise
counsel.




                                                    Sincerely,
                                                    ___________/s/____________
                                                     J. Mark Coulson
                                                     United States Magistrate Judge
                                                     Dated: May 27, 2022




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